Case 1:00-cv-01898-VSB-VF Document 2612 Filed 07/14/09 Page 1 of 3

UNITED STATES DISTRICT COURT
‘ SOUTHERN DISTRICT OF NEW YORK

IN RE METHYL TERTIARY BUTYL ETHER

PRODUCTS LIABILITY LITIGATION Master File No. 1:00-1898
. MDL 1358 (SAS)
This document relates to: M21-88

City of New York v. Amerada Hess Corporation, et al.,
No. 04 Civ. 3417 (SAS)

DECLARATION OF LISA GERSON IN SUPPORT OF
. DEFENDANT EXXON MOBIL CORPORATION’S
MOTION TO EXCLUDE OPINIONS OF PLAINTIFF’S EXPERT DAVID TERRY

Lisa Gerson, an attorney duly licensed to practice law in the State of New York and in the
United States District Court for the Southern District of New York, hereby declares the
following under penalties of perjury:

1. I am a member of the law firm of McDermott Will & Emery LLP, counsel for the
Exxon Mobil Corporation (“ExxonMobil”) Defendants in the above-captioned matter. I submit
this Declaration in support of ExxonMobil’s Motion To Exclude Opinions of Plaintiffs Expert
David Terry (hereinafter “Motion”). This Declaration authenticates the exhibits attached hereto
and relied on in support of the Motion. In accordance with this Court’s Individual Rules and
Procedures, the exhibits have been excerpted to include only the relevant material. Copies of
each of the exhibits appended hereto were made at my direction on or around July 13, 2009.

2. Attached hereto as Exhibit A is a true and correct copy of relevant pages from the
Expert Rebuttal Report of David B. Terry (Mar. 23, 2009).

3. Attached hereto as Exhibit B is a true and correct copy of relevant pages from day

3 of the deposition of David B. Terry (July 1, 2009).
Case 1:00-cv-01898-VSB-VF Document 2612 Filed 07/14/09 Page 2 of3

4, Attached hereto as Exhibit C is a true and correct copy of relevant pages from the
Second Errata to February 6, 2008 Expert Report of David B. Terry (Apr. 20, 2009).

5. Attached hereto as Exhibit D is a true and correct copy of relevant pages from day
1 of the deposition of David B. Terry (Apr. 6, 2009).

6. Attached hereto as Exhibit E is a true and correct copy of relevant pages from the
Delta Consultants Groundwater Monitoring Report for 165-25 Liberty Ave. (Aug. 26, 2008)
(BPCITYNY0000279).
1. Attached hereto as Exhibit F is a true and correct copy of relevant pages from the
Delta Environmental Consultants Subsufrace Hydrocarbon Assessment Report for BP Service
Station Number 4318 (Apr. 15, 2004) (BPI 000361573, 000361583-84).

8. Attached hereto as Exhibit G is a true and correct copy of figure 3 from the Feb.
6, 2009 Report of David B. Terry, with distance notation added.

9. Attached hereto as Exhibit H is a true and correct copy of relevant pages from day
2 of the deposition of Marcel G. Moreau (Apr. 9, 2009).

10. Attached hereto as Exhibit I is a true and correct copy of relevant pages from the
Expert Report of Donald K. Cohen and Marnie A. Bell (Feb. 7, 2009).

11. Attached hereto as Exhibit J is a true and correct copy of relevant pages from day
2 of the deposition of David B. Terry (Apr. 7, 2009).

12. Attached hereto as Exhibit K is a true and correct copy of relevant pages from the

Expert Site Specific Report of Marcel Moreau (Feb. 6, 2009).
Case 1:00-cv-01898-VSB-VF Document 2612 Filed 07/14/09 Page 3of3

Dated: July 13, 2009 Respectfully submitted,
New York, NY

Lisa Gerson
